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        ERIKSON LAW GROUP
    1 David Alden Erikson (SBN 189838)

    2
       david@daviderikson.com
      Antoinette Waller (SBN 152895)
    3  antoinette@daviderikson.com
      200 North Larchmont Boulevard
    4 Los Angeles, California 90004
      Telephone: 323.465.3100
    5 Facsimile: 323.465.3177

    6 Attorneys for Plaintiff Francesca Gregorini

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    8                              UNITED STATES DISTRICT COURT
    9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   11 FRANCESCA GREGORINI,                          Case No. 2:20-cv-00406-SSS-JC
                                                  I.Hon. Sunshine S. Sykes
   12                 Plaintiff,
                                                    Referred to: Hon. Jacqueline Choolijian,
   13         v.                                    United States Magistrate Judge
   14 APPLE INC., a California corporation;
        M. NIGHT SHYAMALAN, an
   15 individual, BLINDING EDGE                     DECLARATION OF ANTOINETTE
        PICTURES, INC., a Pennsylvania              WALLER IN SUPPORT OF
   16   corporation; UNCLE GEORGE                   PLAINTIFF’S MOTION TO
        PRODUCTIONS; a Pennsylvania
   17   corporation; ESCAPE ARTISTS LLC,            COMPEL DEFENDANT’S
        a California limited liability company;     PRODUCTION OF DOCUMENTS
   18   DOLPHIN BLACK PRODUCTIONS,
        a California corporation; TONY
   19   BASGALLOP, an individual; ASHWIN
        RAJAN, an individual; JASON                 Date: May 30, 2023
   20   BLUMENTHAL, an individual; TODD             Time: 9:30 a.m.
        BLACK, an individual; STEVE TISCH,          Courtroom.: 750
   21   an individual; and DOES 1-10,
        inclusive
   22
                      Defendants.
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                                                  1                             DECLARATION
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    1        I, Antoinette Waller declare:
    2        1.     I am counsel for Plaintiff Francesca Gregorini in the above-captioned
    3   matter. I have first-hand, personal knowledge of the facts set forth in this
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        Declaration, and if called to testify, could and would testify as follows.
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             2.     On April 8, 2020, the defendants served initial disclosures in this case,
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        identifying numerous individuals (including the person most knowledgeable at
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        many of the non-Apple defendants) with discoverable information on “Servant’s
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        development, pre-production, production, and/or post-production.” Defendants also
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        identified multiple categories of documents that they intended to rely on at trial,

   11   including categories identified as “[d]ocuments and communications relating to

   12   Servant’s development and production” and “[d]ocuments and communications
   13   relating to Mr. Basgallop’s ideas and plans for Servant.” Defendants served one set
   14   of initial disclosures for all eleven defendants named in this action. Defendants did
   15   not differentiate between themselves as to which defendant held which category or
   16   categories of documents. Defendants did not identify where any of the initial
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        disclosure documents were located. Attached as Exhibit 1 hereto is a true and
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        correct copy of defendants’ April 8, 2020 initial disclosures.
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             3.     In March and April 2020, Plaintiff served two sets of document
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        requests. The requests were exactly what one would expect of an initial set in a
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        copyright case, with requests such as All non-privileged “Documents reflecting or
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   23
        evidencing Communications concerning Plaintiff,” “All non-privileged Documents

   24   reflecting or evidencing Communications concerning Emanuel” and the like.

   25   Plaintiff’s second set of document requests specifically mirrored defendants’ initial
   26   disclosures, by asking for documents identified in the initial disclosures. With few
   27   exceptions, defendants indicated that they would indeed produce responsive
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                                                   2                                 DECLARATION
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    1   documents, or at least meet and confer to clarify the scope of the request. Attached
    2   as Exhibit 2 hereto is a true and correct copy of Plaintiff’s second set of document
    3   requests (the “Document Requests”) served on defendant Uncle George
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        Productions, LLC (“Defendant”). Plaintiff’s request nos. 106-111 (the “Initial
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        Disclosure Requests”) seek Defendant’s initial disclosure documents.
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             4.     After this Court granted defendants’ Motion to Dismiss, Plaintiff
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        appealed, on the ground, inter alia, that the Judge previously presiding over this
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        matter, Judge John Walter, erred by finding lack of substantial similarity without
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        the benefit of a more developed factual record, discovery, and expert testimony.

   11   The Ninth Circuit overturned Judge Walter’s dismissal and remanded the case back

   12   to this Court on April 22, 2022. (ECF Docket No. 61.) Following remand, the case
   13   was transferred to Judge Sykes. (ECF Docket No. 93.)
   14        5.     On May 20, 2020, Defendant served its responses to the Document
   15   Requests. Attached as Exhibit 3 hereto is a true and correct copy of those
   16   responses. In response to the Initial Disclosure Requests (save for Request No.
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        111), subject to boilerplate objections, Defendant responded that it would produce
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        the requested documents.
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             6.     When the case was returned to this Court, Plaintiff immediately
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        resumed pursuit of the outstanding discovery. Defendants refused to participate in
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        discovery on the basis that they intended to file a motion to bifurcate discovery and
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        seek summary judgment without allowing discovery by Plaintiff. Defendants

   24   ultimately filed a motion to bifurcate. The Court denied Defendants’ motion to

   25   bifurcate, finding that it was without basis and holding that Plaintiff was entitled to
   26   discovery. (ECF Docket No. 99.) Again, Plaintiff immediately resumed her
   27   attempts to have Defendants comply with their discovery obligations and produce
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                                                   3                               DECLARATION
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    1   documents in compliance with their May 2020 responses to Plaintiff’s document
    2   Requests.
    3        7.     In the twelve months since this case was remanded to this Court,
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        Defendants have not produced any documents. Defendants claim that they are
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        working on gathering documents for production. Plaintiff has repeatedly requested
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        that Defendants at least produce their initial disclosure documents as they agreed to
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        do in response to the Initial Disclosure Requests. On several occasions I and my
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        colleague, David Erikson, have sought defendants’ compliance with their discovery
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        responses. On February 16, 2023, I wrote to defendant’s counsel, again demanding

   11   that defendants produce the documents identified in their initial disclosures and

   12   which Defendant Uncle George had agreed to produce in May 2020 pursuant to
   13   Plaintiff’s requests for production, Initial Disclosure Requests. Attached as Exhibit
   14   4 hereto is a true and correct copy of my February 16, 2023 letter to Defendant’s
   15   counsel. On February 22, 2023, Defendant’s counsel, Mr. Jampol, wrote a letter to
   16   me and my colleague David Erikson in which Mr. Jampol states as to the Initial
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        Disclosure Requests, “we will of course produce the documents upon which we
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        rely.” Mr. Jampol claimed that he was unable to provide a date by which the
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        production would occur. As of the date of this declaration, Defendant has not
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        produced its initial disclosure documents. Attached hereto as Exhibit 5 is a true and
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        correct copy of Mr. Jampol’s February 22, 2023 letter.
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                                                  4                              DECLARATION
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    1        I declare under penalty of perjury pursuant to the laws of the State of
    2 California and the United States of America that the foregoing facts are true and

    3 correct.

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             I am executing this Declaration on April 27, 2023 in Los Angeles, California.
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    7                                             /s/Antoinette Waller ____
                                                  ANTOINETTE WALLER
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